         Case 3:06-cr-00194-JCH Document 11 Filed 07/15/10 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                  :
                                          :      CRIMINAL ACTION NO.
v.                                        :      3:06-cr-194(JCH)
                                          :
SYED TALHA AHSAN                          :      JULY 15, 2010


                                ORDER OF TRANSFER

      The Honorable Janet C. Hall hereby transfers the above-identified case to the

docket of THE HONORABLE MARK R. KRAVITZ for all purposes.

      All future pleadings and filings in this case shall be filed with the Clerk’s Office in

New Haven, Connecticut, and bear docket number 3:06-CR-194(MRK). Pleadings or

documents related to this action and filed in any other seat of Court may be refused at

the Clerk’s Office and returned to you unfiled. [See Local Rule 7(a).]

SO ORDERED.

      Dated at Bridgeport, Connecticut this 15th day of July, 2010.




                                    /s/ Janet C. Hall
                                   Janet C. Hall
                                   United States District Judge
